Case 01-01139-AMC Doc 14597-6 Filed 02/16/07 Pagei1of5

EXHIBIT E-

ae

tak
a
Case 01-01139-AMC Doc 14597-6 Filed 02/16/07 Page 2 of 5

88 CLAIMS BARRED BY CANADIAN NORMAL LIMITATIONS PERIODS

Claim Number | Province =| ~~~ ~Claimant
011322 ON Hamilton District School Board
011323 oN Hamilton District School Board
011618 ON Hudson’s Bay Company Zellers —
011620 MB — [354401 Alberta LTD.

| c/o Redcliff Realty Management Inc.
011627 | BC ) | School District 68
| Nanaimo-Ladysmith
011632 BC ~~ | School District 68
Nanaimo-Ladysmith
011678 ON — Hamilton District School Board
011680 ON” "Hamilton District School Board
011681 ‘ON Hamilton District School Board —
011682 ON | Hamilton District School Board
1011683 TON. Hamilton District School Board
011684 ) oN” Hamilton District School Board
012293 AB Calgary Board of Education
012303 ON . Toronto District School Board
012304 ON So Toronto District School Board
012305 ON - ~ | Toronto District School Board
012306 . ON | Toronto District School Board
012307 ON _ | Toronto District Schoo! Board
012308 | ON ~—P-feronto District School Board

012309 ON Toronto District School Board

Case 01-01139-AMC Doc 14597-6 Filed 02/16/07 Page 3of5

Claim Number

‘Province —

Claimant

012310 ON Toronto District School Board
012311 ON Toronto District School Board
012312 © ON Toronto District School Board
012313 ON Toronto District School Board
012314 ON Toronto District School Board
012315 ON Toronto District School Board
012316 ON Toronto District School Board
[012317 ON | Toronto District School Board
012322 ON William Osler Health Centre
012329 ON University of Guelph
012331 AB Calgary Board of Education
012346 BC | City of Vancouver
012348 AB Calgary Board of Education
012368 ON Mc Master University
012377 “AB ~ | Edmonton Public Schools
012388 AB Edmonton Public Schools
012394 AB Edmonton Public Schools
012395 ON Carleton University
012396 ON Fairmall Leasehold Inc.
012400 AB City of Edmonton
012401 AB City of Edmonton
012410 AB Calgary Board of Eduction
012412 AB Calgary Board of Education

| SBR.
Case 01-01139-AMC Doc 14597-6 Filed 02/16/07 Page 4 of 5

Claim Number “Province Claimant
012421 AB “Oxford Properties Group
012422 AB ‘| Oxford Properties Group
01 DADS AB Oxford Properties Group
012427 ON Morguard Investments Limited
012430 BC Morguard Investments Limited
012438 AB Calgary Board of Education
012439 AB Calgary Board of Education

1012440 — “AB Calgary Board of Education

| 012442 AB | Calgary Board of Education

[012443 AB Calgary Board of Education
012454 AB Calgary Board of Education
012457 AB ‘Calgary Board of Education
012476 BC City of Vancouver
012489 AB City of Edmonton
012490 NS Atlantic Shopping Centres LTD
012491 NL “Avalon East School Board
012493 ‘NL Health Care Corporation of St. John’s
012496 AB "| Edmonton Public Schools
012498 AB Edmonton Public Schools —
012500 AB Edmonton Public Schools"
012501 AB Edmonton Public Schools
012503 AB Edmonton Public Schools
012525 MB

Hudson Bay Company

TORRE
Case 01-01139-AMC Doc 14597-6 Filed 02/16/07 Page5of5

Claim Number Province Claimant

| 012526 AB Hudson’s Bay Company
(012527 BC Hudson’s Bay Company
012528 AB Hudson’s Bay Company
012530 ON | Hudson’s Bay Company
012531 ON Hudson’s Bay Company
012532 | AB Hudson’s Bay Company

1012534 ON Great West Life

1012536 NL Canadian Imperial Bank of Commerce
‘012537 AB Edmonton Public Schools
012541 AB Edmonton Public Schools
012542 AB Edmonton Public Schools
012546 AB | Edmonton Public Schools
012548 AB Edmonton Public Schools
012549 AB Edmonton Public Schools

012554 AB Edmonton Public Schools

| 012557 AB Edmonton Public Schools

. 012570 AB Calgary Board of Education
012576 AB Edmonton Public Schools
012590 TAB Calgary Board of Education

| 012591 AB "| Calgary Board of Education
013950 ON ‘Hamiiton District School Board
014885 AB Calgary Board of Education —

1 DRORI:
